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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  FORT PIERCE DIVISION

                          CASE NO. 21-14094-CIV-CANNON/Maynard

  DANIEL ROMERO,

          Plaintiff,
  v.

  LAKEVIEW LOAN SERVICING LLC and
  CENTRAL LOAN ADMINISTRATION & REPORTING,

          Defendants.
                                                       /

            ORDER CLOSING CASE AND DISMISSING WITHOUT PREJUDICE

          THIS MATTER is before the Court on the Parties’ Joint Stipulation of Dismissal

  [ECF No. 48]. Pursuant to Rule 41(a)(1)(A)(ii), the Stipulation of Dismissal, signed by all parties

  who have appeared, is self-executing and dismisses the case “effective immediately upon filing.”

  See Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272, 1277 (11th Cir. 2012). Accordingly,

  this case is CLOSED, effective February 4, 2022, the date the parties filed their Joint Stipulation

  of Dismissal. Accordingly, it is ORDERED AND ADJUDGED as follows:

              1. The Clerk of Court is directed to CLOSE this case.

              2. All deadlines are TERMINATED.

              3. The case is DISMISSED WITH PREJUDICE.

              4. The Court declines to retain jurisdiction.

              5. Each party shall bear its own fees, costs, and expenses.

          DONE AND ORDERED in Chambers at Fort Pierce, Florida this 16th day of February

  2022.

                                                           _________________________________
                                                           AILEEN M. CANNON
                                                           UNITED STATES DISTRICT JUDGE
  cc:     counsel of record
